                  Case 1:13-cv-02522-GLR Document 7 Filed 09/27/13 Page 1 of 6




                                     United States District Court
                                        District Of Maryland

     Chambers of                                                                         101 West Lombard Street
Ellen Lipton Hollander                                                                   Baltimore, Maryland 21201
  District Court Judge                                                                         410-962-0742



                                                       September 27, 2013

       LETTER TO COUNSEL

               Re:       Crystal Blankenship v. Black & Decker (U.S.) Inc., et al.
                         Civil No.: ELH-13-02522

       Dear Counsel:

              A conference call has been set for October 29, 2013, at 4:00 p.m., to discuss the appropriate
       schedule in this case. I ask counsel for plaintiff to initiate the call to defense counsel and then to
       chambers.

               Enclosed is a draft scheduling order with proposed dates for your review. Please consult with
       one another before the call and be prepared to discuss (1) whether you would like to participate in a
       settlement conference either before or after the completion of discovery; (2) whether discovery of
       electronically stored information may be necessary; (3) any changes to the dates in the form
       scheduling order; (4) whether you would like to defer any of the expert discovery until after
       summary judgment motions are resolved; (5) the number of deposition hours that will be needed; and
       (6) whether there is unanimous consent to proceed before a U.S. Magistrate Judge for all
       proceedings.

                                                                       Sincerely,

                                                                          /s/
                                                                       Ellen Lipton Hollander
                                                                       United States District Judge
          Case 1:13-cv-02522-GLR Document 7 Filed 09/27/13 Page 2 of 6



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

CRYSTAL BLANKENSHIP
                                                *
                      Plaintiff
                                                *
                      vs.                                   Civil Action No. ELH-13-02522
                                                *
BLACK & DECKER (U.S.) INC., et al
                                                *
                      Defendants
                                             ******

                              (DRAFT) SCHEDULING ORDER

        This scheduling order is being entered pursuant to Local Rule 103.9. Any inquiries
concerning the schedule should be directed to my chambers, not to the Clerk=s Office. Any
party who believes that any deadline set forth in this Scheduling Order is unreasonable may
request in writing a modification of the Order or that a conference be held for the purpose of
seeking a modification of the Order, and any such request must be made on or before the first
date set forth in Paragraph I below. Thereafter, the schedule will not be changed except for
good cause.

        This case is subject to electronic filing. Please familiarize yourself with the procedures
for electronic filing available at: www.mdd.uscourts.gov. You must use the electronic filing
system for filing documents with the Clerk and sending case related correspondence to
chambers. When you electronically file a document that, including attachments, is 15 pages
or longer, you also must provide a paper copy of the document and a paper copy of the
notice of electronic filing. The paper copy should be sent to the Clerk’s Office, not directly to
my chambers.


                                        I. DEADLINES

       October 29, 2013:                Deadline for requests for modification of initial
                                        Scheduling Order

       October 29, 2013:                Joint request for early settlement/ADR
                                        conference (This request will not postpone
                                        discovery unless otherwise ordered.)

       October 29, 2013:                Report about deposition hours




                                                    1
          Case 1:13-cv-02522-GLR Document 7 Filed 09/27/13 Page 3 of 6



       October 29, 2013:                Initial report whether there is unanimous consent
                                        to proceed before a United States Magistrate
                                        Judge

       October 29, 2013:                Deadline for conference about discovery of
                                        electronically stored information. (If either or
                                        both parties intend to take such discovery, before
                                        the conference counsel should review the
                                        Suggested      Protocol    for    Discovery     of
                                        Electronically Stored Information prepared by a
                                        Joint bench/bar committee published on the
                                        court’s website.)

       November 29, 2013:               Moving for joinder of additional parties and
                                        amendment of pleadings

       December 16, 2013:               Plaintiff’s Rule 26(a)(2) disclosures

       January 13, 2014:                Defendant’s Rule 26(a)(2) disclosures

       January 27, 2014:                Plaintiff’s rebuttal Rule 26(a)(2) disclosures

       February 3, 2014:                Rule 26(e)(2) supplementation of disclosures and
                                        responses

       February 27, 2014:               Discovery deadline; submission of status report

       March 6, 2014:                   Requests for admission

       March 31, 2014:                  Dispositive pretrial motions deadline


                                        II. DISCOVERY

Initial Disclosures

       This is an action in which Fed. R. Civ. P. 26(a)(1) disclosures need not be made.

Discovery Conference

        This action is exempted from the requirements of the first sentence of Fed. R. Civ. P.
26(d) and from Fed. R. Civ. P. 26(f). However, you are encouraged to confer with one another
immediately in order to: (a) identify the issue(s), (b) set a discovery plan, (c) determine if the
case can be resolved before your clients incur further litigation expense, and (d) establish a
cordial professional relationship among yourselves.


                                                   2
            Case 1:13-cv-02522-GLR Document 7 Filed 09/27/13 Page 4 of 6



Procedure

       All the provisions of Local Rule 104 apply, including the following:

               a.     All discovery requests must be served in time to assure that they are
               answered before the discovery deadline. An extension of the deadline will not be
               granted because of unanswered discovery requests.

               b.      The existence of a discovery dispute as to one matter does not justify
               delay in taking any other discovery. The filing of a motion to compel or a motion
               for a protective order will not result in a general extension of the discovery
               deadline.

               c.     No discovery materials, including Rule 26(a)(1) and Rule 26(a)(2)
               disclosures, should be filed with the court.

               d.     Motions to compel shall be filed in accordance with Local Rule 104.8 and
               applicable CM/ECF procedures.

               e.     Please be familiar with the Discovery Guidelines of this Court which are
               Appendix A to the Local Rules. Appendix D contains guidelines for form
               discovery requests and confidentiality orders that may be helpful to you.

Deposition Hours

        Please confer with one another immediately concerning the number of hours of
depositions which you believe are appropriate. If I have not heard from you by the date set forth
in Section I of this order, each side shall be limited to 15 hours of depositions of fact witnesses
(including parties). (If you agree to another number of deposition hours and notify me of your
agreement, you may consider your agreement approved unless you hear from me to the contrary
within 10 days.) If there are two or more parties on a particular side, they must share the
deposition time allotted to their side unless upon your request I otherwise rule. Any colloquy
engaged in by counsel shall be counted against his/her client's deposition time.


                                     III. STATUS REPORT

       The parties shall file on the day of the discovery deadline a status report covering the
following matters:

               a.     Whether discovery has been completed;

               b.     Whether any motions are pending;

               c.     Whether any party intends to file a dispositive pretrial motion;


                                                    3
          Case 1:13-cv-02522-GLR Document 7 Filed 09/27/13 Page 5 of 6



               d.        Whether the case is to be tried jury or non-jury and the anticipated length
               of trial;

               e.     A certification that the parties have met to conduct serious settlement
               negotiations; and the date, time and place of the meeting and the names of all
               persons participating therein;

               f.      Whether each party believes it would be helpful to refer this case to
               another judge of this court for a settlement or other ADR conference, either before
               or after the resolution of any dispositive pretrial motion;

               g.      Whether all parties consent, pursuant to 28 U.S.C. § 636(c), to have a U.S.
               Magistrate Judge conduct all further proceedings in this case, either before or
               after the resolution of any dispositive pretrial motion, including trial (jury or non-
               jury) and entry of final judgment.

               h.      Any other matter which you believe should be brought to the court's
               attention.


                           IV. DISPOSITIVE PRETRIAL MOTIONS

       If more than one party intends to file a summary judgment motion, the provisions of
Local Rule 105.2.c apply.

       After motions and responses thereto have been filed, I will advise you if a hearing is to be
scheduled.


                        V. STATUS AND PRETRIAL CONFERENCES

        I will set a scheduling conference after the status report has been filed, unless that report
indicates that one or more of you intends to file a dispositive pretrial motion. In the latter event I
will not set a scheduling conference until after I have ruled upon the motion (or the dispositive
pretrial motion deadline passes without the anticipated motion being filed).

       At the scheduling conference:

               a.     I will set a deadline for submitting the pretrial order, motions in limine,
               proposed voir dire questions and proposed jury instructions;

               b.      I will set a pretrial conference date and a trial date; and

               c.      I will ask you whether a settlement or other ADR conference with a
               judicial officer would be useful, and whether all parties would consent to trial
               (jury or non-jury) before a U.S. Magistrate Judge. Please confer with your

                                                     4
          Case 1:13-cv-02522-GLR Document 7 Filed 09/27/13 Page 6 of 6



               client about these matters before the conference so that you are in a position
               to respond.


                                    VI. ATTORNEYS’ FEES

        In any case where attorneys’ fees may be sought by the prevailing party, counsel must be
familiar with the provisions of Local Rule 109.2 and the Rules and Guidelines for Determining
Lodestar Attorneys’ Fees in Civil Rights and Discrimination Cases which are Appendix B to the
Local Rules.


         VII. COMPLIANCE WITH LOCAL RULES AND CM/ECF PROCEDURES

       The court will demand compliance with the Local Rules and CM/ECF procedures. If you
need to obtain a copy of the Local Rules or the CM/ECF procedures, they are available on our
website at www.mdd.uscourts.gov.


                VIII. COMPLIANCE WITH PRIVACY PROTECTION RULE

        Counsel are reminded that the Federal Rules of Civil Procedure were amended, effective
December 1, 2007, with the addition of a new Rule 5.2 which has detailed requirements
requiring the redaction of filings with this court that contain an individual's social security
number, tax payer identification number, or birth date, the name of an individual known to be a
minor, or a financial account number. It is essential that counsel comply with this rule and with
the revised version of the Judicial Conference Privacy Policy adopted in March 2008. For
further information on the Judicial Conference Privacy Policy see:
http://www.mdd.uscourts.gov/news/news/privacy_memo.pdf.



Date: Click here to enter a date.
                                                    Ellen L. Hollander
                                                    United States District Judge




                                                  5
